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                         UNITED STATES DISTRICT COURT FOR
                             THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                              :
                                                      :
 v.                                                   :       Criminal Case No.
                                                      :
 RICHARD BARNETT,                                         :    1:21-cr-0038
                                           :
Defendant                                  :
                                           :
____________________________________________

RICHARD BARNETT’ MOTION IN LIMINE AND MOTION TO EXCLUDE EXPERT
     TESTIMONY OF GOVERNMENT OFFICIALS NOT DULY NOTICED

       Defendant RICHARD BARNETT (“Barnett”), through the undersigned counsel,

Bradford L. Geyer, Esq., presents this Motion for an order in limine to exclude from presentation

or mention at trial of arguments, evidence, or claims by Government witnesses (particularly

those both called for the Government’s case and also current or former officials of the

Government, whether Federal or of the District of Columbia) that are unduly prejudicial. In

support of his motion Barnett files his companion Memorandum of Law.

Dated: January 6, 2023                RESPECTFULLY SUBMITTED, By Counsel
                                      /s/ Brad Geyer

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                                CERTIFICATE OF SERVICE

        I hereby certify that on January 6, 2023, a true and accurate copy of the forgoing was
electronically filed and served through the ECF system of the U.S. District Court for the District
of Columbia.




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                       Respectfully submitted

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